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                           Ex. 5
Cox Business Email RE_ Melani Schulte (Case No_ 09-29123-MK...       https://webmail.coxbusiness.com/appsuite/v=7.10.3-30.2021081...
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           Christopher Burke <atty@cburke.lvcoxmail.com>                                                12/10/2021 4:20 PM

           RE: Melani Schulte (Case No. 09-29123-MKN)
           To Greg P. Campbell <gcampbell@aldridgepite.com>


           Mr. Campbell

           This meet and confer was mailed out on November 24, 2021. To date I have not had a response. Please respond
           with substantive answers and documents by December 17, 2021. Otherwise, I will be filing a motion to compel. If
           you have any questions please feel free to contact me.

           Thank you,
           Christopher P. Burke


                 2ndLetter.pdf (441 KB)




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